             Case 4:24-mc-00001-KGB Document 14 Filed 06/21/24 Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF ARKANSAS
                                   CENTRAL DIVISION

 FISHER-PRICE, INC. and MATTEL,
 INC.,

                   Petitioners,                    Civil Action File No.: 4:24-mc-00001-KGB
 v.                                                (Related to Civil Action No. 1:22-cv-10984
                                                   D. Mass.)
 UNIVERSITY OF ARKANSAS FOR
 MEDICAL SCIENCES

                   Respondent.



                    STIPULATION OF DISMISSAL WITHOUT PREJUDICE

            PLEASE TAKE NOTICE THAT, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) Petitioners

Fisher-Price, Inc. (“Fisher-Price”) and Mattel, Inc. (“Mattel”) (collectively, “Petitioners”) and

Respondent University of Arkansas for Medical Sciences (“Respondent”) (altogether the

“Parties”), by and through their undersigned counsel, stipulate and agree that the above-captioned

action is dismissed without prejudice. Each party will bear its own costs and attorneys’ fees.

This 21st Day of June, 2024.

                                             Respectfully Submitted,

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Case 4:24-mc-00001-KGB Document 14 Filed 06/21/24 Page 2 of 3




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                              2
         Case 4:24-mc-00001-KGB Document 14 Filed 06/21/24 Page 3 of 3



                               CERTIFICATE OF SERVICE

        I, the undersigned counsel, certify that on June 21, 2024, I electronically filed the
foregoing document with the Clerk of the Court using CM/ECF, which will send notification to
all counsel of record.


With a courtesy copy sent via electronic mail to Counsel for Plaintiffs in the underlying case
pending in the United States District Court for the District of Massachusetts captioned Colon, et
al. v. Fisher-Price, Inc., et al., Civil Action No. 1:22-cv-10984:

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